           Case 5:17-cr-00220-HE Document 16 Filed 01/16/18 Page 1 of 1



                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF OKLAHOMA

                    **PHOTO ID IS REQUIRED FOR ANYONE ENTERING
                            THE FEDERAL COURTHOUSE**

UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )
vs.                                              )           NO. CR-17-00220-001-HE
                                                 )
BRENNA KAY UNDERHILL,
(Defendant on Bond)                              )
                                                 )
                       Defendant.                )

                            NOTICE OF CRIMINAL PROCEEDING

 TAKE NOTICE - that the following proceeding has been scheduled as indicated below before the
Honorable Joe Heaton, United States District Court, Oklahoma City, Oklahoma:

Type of Proceeding:

                                    SENTENCING HEARING

PLACE:        UNITED STATES COURTHOUSE                       DATE AND TIME:
               200 NW 4th Street
               Courtroom No. 301                             February 22, 2018 at 10:00 a.m.
               Oklahoma City, Oklahoma 73102

  TAKE NOTICE - that the above criminal proceeding is RESCHEDULED:



       Dated this 16th day of January, 2018.

                                      JOE HEATON, CHIEF U. S. DISTRICT JUDGE

                                                      By:    s/Lisa Minter
                                                             Deputy Clerk

cc:    Chris Stephens, AUSA
       Adam Banner, Esq.,
       U.S. Marshal, Western District of Oklahoma
       U.S. Probation and Pretrial Services Office
